  REDACTED -
PUBLIC VERSION
                    EXHIBITS A-C
          REDACTED IN THEIR ENTIRETY




YCST01:10887437.1                  065468.1001
EXHIBIT D
EXHIBIT E
                       F
               WILCOX & FEIZER LTD,




            In The Matter Of:

CIF Licensing, LLC v. Agere Systems,
                 Inc.


        Transcript of Proceedings


            C.. # 07-170 JJF

             November 9, 2007




                                           Wilcox & Fetzer, Ltd.
                                         Phone: 302-655-0477
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                                      Internet: www.wllfet.com
                                                                  Page 1
                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

       CIF LICENSING, LLC,               )
                                         )
            Plaintiff,                   )
                                          )
       v.                                 ) C.A. No. 07-170 JJF
                                          )
       AGERE SYSTEMS, INC.,               )
                                          )
            Defendant.                     )



                                Courtroom 4B
                                844 King Street
                                Wilmington, Delaware


                                Friday, November 9, 200?
                                10:10 a.m.



       BEFORE: THE HONORABLE JOSEPH J. FARNAN, JR.
                United States District Court Judge




                           TRANSCRIPT OF PROCEEDINGS




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                                                     Page 2                                                               Page 4
 1           THE COURT: CIF Licensing versus Agere.                1                 I feel like we have been accommodating in
 2 Mr, Shaw, good morning.                                         2       saying we will give you specific products, not some
 3           MR. SHAW: Good morning, Your Honor. For               3       general definition, not something that you think is
     Agere, John Shaw and Ian Saffer from Townsend and                     overbroad. We will go to spec products and tell you
 5 Townsend and Crew.                                              5       which ones are at issue, We're not trying to tie that or
 6           MR, ROVNER: Philip Rovner for CIF                     6       we don't need to tie that to contentions that we already
 7 Licensing. Mike Connally from McDermott Will S. Emery in        7       have in order to win the case. If it's appropriate,
 8 D.C.                                                            8       we're happy to file representative infringement
 9           THE COURT: Apparently you can't get                   9       contentions on the products we know about for whatever
10 together on discovery here. Actually, I guess I see            10       that will help, I don't think it limits discovery in any
11 Mr. Rovner was, interestingly, previously involved in a        11       way.
12 similar dispute, l think. I think the movant here has          12                 THE COURT: This happens in every case,
13 put into the record — my thoughts have always been about       13       That's why I was interested in reading this transcript
19 how these disputes work unless there's something that the      14       that was attached as an exhibit by the movant. We say
15 judge doesn't understand, and that's why I thought I           15       this so many times. If you want to sue people, fine, sue
16 would get you in, because maybe I'm missing something.         16       them, but have in mind exactly what it is you're accusing
17 But I kind of think your side of the case might have           17       them of doing, exactly what you have in mind. Doesn't
18 heard this kind of language before from the judge. You         18       matter.
19 had an obli gation to tell people, look, this is your          19                  Then it goes on to say, and that means if
20 product, you think it infringes, here's why, you know          20       you say you produced an accused device, you need to have
21 we're accusing you of infringing, you have got something       21       some basis for having an accused device and ask them,
22 that we believe infringes. And that ought to be the            22        okay, tell us about this accused device, which is what
23 baseline.                                                      23       you say you're doing.
24            That was Judge Jordan talking previously.           24                  Then there's this little bit of a tag. You

                                                      Page 3                                                               Page 5
 1   When I look at these, I kind of get the sense that a              1can't say to them, look across your product line and tell
 2   defendant as the other judges of the court I think                2us everything that meets our claim language. That's the
 3 view this, I view it, and that is that the defendant                3second part of what you're saying you're not getting.
 9   doesn't have any kind of a linking or contemporaneous             4Sort of the same thing, unless I'm missing something.
 5 obligation to give up discovery that would in any way               5          MR. CONNOLLY: I guess what I'm saying is
 6 thwart their effort to get discovery from the party suing           6we're precisely not doing that second thing. The
 7   them.                                                         7 complaint initially was your product —
 8             So what's different about this case that             El            THE COURT: You're satisfied with the
 9 would interrupt those kind of principles?                        9   discovery  responses you have gotten?
10             MR. ROVNER: Mr. Connolly is going to               10              MR. CONNOLLY: Oh, no.

11 address those.                                                 11              THE COURT: In essence, they're responding
12             MR. CONNOLLY: Good morning, Your Honor.            12    to what you claim?
13 Mike Connolly.                                                 13              MR. CONNOLLY: No. I guess what I'm saying
                In this case, in our definition of products       14    is we have given them a specific list of products that
15    that was given to Agere, we listed 10 specific products     15 we're saying accused that we know about. We're saying
16    that we wanted discovery on. In our response to their       16    tell us what products you have had in the last six years,
17    interrogatories, we identified 11 as accused products.      17 which is information that's hard to define off whatever
18 They know the specific products. And in the two                18 sourcees we have. We are not saying to them here's our
19    meet-and-confers we had before this hearing we offered to   19 claim, you guys give us everything that infringes this
20 limit the period of discovery to initially start going         20 claim.
21    six years back. We said, look, just give us a bare list     21              THE COURT: What they're saying is the
99    of your products going back six years. We will tick off     22     family of this litigation are the products you know about
23    the ones that we want and then we can talk about it if      9 3 right now. You're saying are there any other products.
24    there's further need to talk.                               24     Is that what you're asking?

2 (Pages 2 to 5)
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                                                          Page 6                                                                       Page 8
              MR. CONNOLLY: That's essentially it, in                   1        you on the products you have accused.
     the sense that we know about these products, we know that          2                  MIL CONNOLLY: Right. So out of that kind
3    they infringe, we believe that they do, and I believe              3        of block came this. I agree with you, our infringement
4    we're entitled to discovery on those. We have identified           4        contentions on the products we know about do not need to
5    them for them. They are withholding that discovery on              5        be linked to their discovery, We can give them
6    the basis that they don't think they should have to give            6       contentions on what we have got. Obviously it helps both
7    discovery on other products. That seems to me two                  7        parties the more information we have, the more detailed
 8   different issues. They have lumped it together.                    8        those can be, the further along we get in this case, So
 9            But on the other products we're saying,                   9        we're happy to do what we need to do to move discovery
10   look, if you think our definition is too generic, just            10        along in this case,
11   give us your products going back six years. Hardly an             11                  THE COURT: You agree with Judge Jordan
12   onerous task. We will give you any other specific                 12        that, when you sued them, you had a complete case in
13   products by product name that we believe infringe.                13        mind,
14   Discovery begins on those and we're happy to give initial         14                  MR. CONNOLLY: Absolutely, as to products
15   infringement contentions, final infringement contentions,         15        we knew about. Like I said, we have named those products
16   all in accordance with the —                                      16        over and over again.
17             THE COURT: You haven't done that yet.                   17                 THE COURT: That's the complete case you've
18             MR. CONNOLLY: No,                                       18        got to give them. Not only name those products, you've
19             THE COURT: That's the point of their                    19        got to give them all your contentions about those
20   motion. I understand what you're saying about other               20        products.
21   products and what you told me in the papers was, well,            21                  MR. CONNOLLY: We're happy to do that,
22   you know, we got to get this other information and all            22        Your Honor.
23   and their motion, essentially the argument is premature.          23               THE COURT: Good.
24   They're saying, you sued us, tell us everything that              24                  MR. CONNOLLY: We would ask production move

                                                              Page 7                                                                     Page 9

 1   we're asking for about what you sued us about, and                      1    along.
 2   actually that's very timely, and this other stuff you              2                    THE COURT: That's the point I'm trying to
 3   want shouldn't be contingent in any way on what were                3        make. It's not a quid pro quo. That's what
 4   entitled to as a defendant at this point,                           4        Judge Jordan was trying to say in that transcript.
 5             What you're saying is we don't want to give               5                   Now, if you think that they're not either
 6   you our — I think the cleanest interpretation of what               6        through a meet-and-confer or through a demand providing
 7   you're saying is and the way I would probably try to say            7        you with what you're entitled to at this juncture of the
 8   it is, all right, we will give you everything about the              8       litigation, your remedy is to come here next month with
 9   products we noticed, but this isn't our whole case                  9        your motion to compel.
10   possibly, So you're on notice we're going to supplement.          10                    MR. CONNOLLY: I understand that,
11    And then they can't come in here at the near end of the          11         Your Honor. Unfortunately, it looks like we may end up
12    fact discovery and say they just dropped these other             12         seeing you again. I just was worried that reading their
13    15 products on us and we shouldn't have to comply,               13         motion and their proposal would be that they would get to
14    because you have told them, there is more we think and           14         stay their discovery until we gave infringement
15    we're willing to give you complete discovery now in your         15         contentions. As long as that's not in the case, then we
16    request and you understand we may be getting more later.         16         don't need to go into that,
17              MR. CONNOLLY: That's right, Your Honor.                17                    THE COURT: Sometimes I thought that's not
18    And I think this all grew out of this notion that if we          18         a bad solution, but these cases are too complex to do
19    don't give them — if we don't reduce the number of               19         that. I'm staying on defendant's discovery until you lay
20    claims, give them claim construction, give them detailed         20         your case out as you knew it when you filed it, but you
21    infringement contentions, they're not going to give us            21        would all think I didn't understand anything about
22    anything even on the products we have accused. Obviously         22         litigation, so I can't do that. I wouldn't do that,
23 they know —                                                         23         You're entitled to have responsive discovery, too, and
24           THE COURT: They're going to have to give                   24        hopefully you won't be put to a motion.

                                                                                                             3 (Pages 6 to 9)
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                                                          Page 10                                                            Page 12
 1             MR. CONNOLLY: I hope so, too.                         1   what you have to say. I think you won.
 2             THE COURT: Thank you.                                 2           MR. SAFFER: Mr. Shaw told me to be
 3             MR.. CONNOLLY: Could I clear something up             3   exceedingly brief. I will be.
 4   on the Honeywell case you referred to that's in their           4           When can we have the plaintiffs
 5   papers?                                                         5    contentions that you described, the accused products
 6             THE COURT: Sure.                                      6    versus the asserted claims with claim constructions?
 7             MR. CONNOLLY: The issue that was addressed            7             THE COURT: Now that you understand what I
 8   in Exhibit A of the transcript that's in defendant's            8    have said, I'm going to let you go back and talk to each
 9   reply papers in Honeywell, the plaintiff was seeking            9    other, because I want you to get this discovery in a more
10   discovery on the other products, and Judge Jordan, as you      10    fluid exchange. But I'm not thinking it's going to be
11   noted, said no.                                                11    more than 20 days that you're going to be able to have
12            In this case were not seeking discovery.              12    this exchange and set out in some cooperative way what
13   We just want identity. Honeywell was merely asking for         13    you each have to do to get the case moving forward in a
14   the identity of the products as opposed to discovery.          14    complete way.
15             THE COURT: I understand that. What                   15             I think you both agree there's going to be
16   Judge Jordan was dealing with was an interesting               16    representative claims here ultimately. That will be part
17   discussion about foundation and a prior ruling and he had      17    of your discussion, too. I don't think you have to
18   to go back and reread it all.                                  18    narrow it at this point, but I think you ought to be
19            What I was trying to draw out of that is              19    thinking about that as you spend your client's money in
20   that the obligations for discovery aren't reciprocal.          20    discovery.
21   Obligations of discovery are based on what you ask for if      21              MR. SAFFER: I don't want to cite precedent
22   you can't work it out in a meet-and-confer and we make a       22    because of Your Honor's comments just a moment ago.
23   decision on the request. And too many lawyers, and a           23    Understanding ifs not for present purposes, but it's
94   little bit in this motion, think that it's reciprocal.         24    more summary judgment or tying down the line, how many

                                                          Page 11                                                              Page 13

 1   That's the only principle I was drawing out of                  1    claims and how many products does Your Honor think are
 2   Judge Jordan. There is no reciprocal obligation that's          2    appropriate?
 3   established.                                                    3             TI-1E COURT: I didn't bring my quarter for
 4             In fact, I'm always amazed in a discovery             4    the flip. So I don't know today. I'd have to know a lot
 5   dispute why anybody cites a case, a transcript, or              5    more about the case. It's really much too early for me
 6   anything. First of all, I don't believe in pressing it          6    to be able to say anything that would be serious, but I
 7   at all. But if you believed in it a little bit, it              7    will be able to down the road.
 8   certainly wouldn't apply to discovery. The only thing           8              MR. SAFFER: Thank you, Your Honor.
 9   that would be applicable to discovery are the rules and         9              THE COURT: If you can't agree. If you can
10   facts of this ease. What we say in any other case is all       10    agree, I always like you to try the case you want to try.
11   contextual.                                                    11    If you can't, then I'm more than happy to weigh in, butl
12            I understand what you're saying. I'm on               12    think it will happen more down the road.
13   board.                                                         13              MR. SAFFER: Thank you, Your Honor,
14             MR. CONNOLLY: I often wondered what would            14              THE COURT: Okay. Here's what I'm going to
15   happen in the other case had Honeywell proposed a              15    do, because I don't want to get you off on a bad foot:
16   compromise that we're doing here.                              16    I'm going to deny the motion to compel because that's a
17             THE COURT: You never got to that. I was              17    serious thing, a motion to compel. Somebody didn't meet
18   only drawing the pearls of Judge Jordan's wisdom about         18     their obligation. So that will be an order I'll enter.
19   discovery not being reciprocal, what the obligations are       19     And then if you all don't work it out, I'll expect to see
20   under the rules when you sue or if you get discovery           20 you back here either in December or January on
21   served on you as a defendant.                                  21    cross-motions or a one-sided motion if you can't work it
22           MR. CONNOLLY: Understood. Thank you, Your              22 out. Thank you.
23 Honor.                                                           23              (The proceeding was concluded at
24             THE COURT: Thank you. I can't imagine                24     10:38 a.m.)

4 (Pages 10 to 13)
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                                                   Page 14
              CERTIFICATE

    STATE OF DELAWARE)
            )
    NEW CASTLE COUNTY)

             1, Kimberly A. Hurley, Registered Merit
    Reporter and Notary Public, do hereby certify that the
    foregoing record, pages 1 to 14 inclusive, is a true and
    accurate transcript of my stenographic notes taken on
    Friday, November 9, 2007, in the above-captioned matter,

            IN WITNESS WHEREOF, I have hereunto set my
    hand and seal this 12th day of November, 2007, at
    Wilmington.



                 Kimberly A, Hurley

                 Certification No, 126-RAIL
                 (Expires January 31, 2008)




                                                               5 (Page 14)
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EXHIBIT F
EXHIBIT G
                                                                        DLA Piper LLP (US)
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                                                                        Erin P. Gibson
                                                                        erin.gibson@dlapiper.com
                                                                        T 619.699.2862
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February 16, 2011                                                       574500-000003


VIA E-MAIL
JCASTELLANO@YCST.COM

Jeff Castellano
Young Conaway Stargatt & Taylor LLP
The Brandywine Building
1000 West Street, 17th Floor
P.O. Box 391
Wilmington, DE 19801

Re:     Ricoh Company Ltd., et al v. Oki Data Corporation, et al., District of Delaware Case No.
        09-cv-694-SLR

Dear Jeff:

We are writing to address various deficiencies in Oki’s document production and in its responses to
Ricoh’s discovery requests.

Oki’s Document Production

We have identified the following deficiencies in Oki’s document production. Specifically, we have been
unable to locate any responsive documents relating to the following Ricoh requests, which were served
on July 20 and October 8, 2010:

Document Request No. 2(3): Documents sufficient to show the design and operation of Oki’s accused
products having an image carrier with a static friction coefficient with respect to paper of from about 0.1 to
about 0.4, including data relating to static friction coefficient and roughness tests and specifications for
paper recommended for use in Oki’s accused products.

Document Request Nos. 10-14: Documents sufficient to show any mechanism in the Oki accused
products to control the configuration of the printer device and to update the control memory.

Document Request Nos. 15-18: Documents sufficient to show any power saving function in the Oki
accused products, including control specifications for automatic receive mode, test results of power
consumption, specifications showing the on/off state of each electrical part during automatic receive
mode and schematics or block diagrams of Oki products that show power supply lines for each electrical
part.

Document Request Nos. 32-33: Documents related to any analysis of Ricoh’s products done by or for
Oki, including purchasing history of Ricoh’s products.

Document Request Nos. 35, 92: Laboratory notebooks or reports prepared by or for the inventors of the
asserted Oki patents that relate to any aspect of their claimed inventions.
Jeff Castellano
February 16, 2011
Page Two


Document Request No. 36: Results of prior art searches conducted by or for Oki relating to the Oki
asserted patents, including results of prior art searches conducted before the filing of the applications
from which those patents issued.
Document Request No. 37: Documents relating to any disclosures to third parties of any invention
claimed in the Oki asserted patents or any product embodying any such invention.

Document Request Nos. 38, 56, 57: Documents prior to July 13, 2003 relating to any Oki fuser unit
having guiding members that guide paper through the unit and spacers that contact a fixing roller to keep
the guiding member at a distance from the roller, including laboratory notebooks of Naoki Sunaga,
Tsutomu Yamoto, Tatsuya Murakami and Masato Sakai (inventors on Oki patent application publication
U.S. 2003/0081970) that contain this type of information.

Document Request Nos. 40, 58, 62: Documents dated before July 31, 2006 or August 2, 2005 relating
to Oki developer carriers and the amount of developer carried by each developer carrier, such as
schematic drawings of screws in developer units and data relating to rotation speed of screws in the
developer units.

Document Request No. 67: Documents sufficient to identify Oki products that purportedly incorporate
the inventions claimed in the Oki asserted patents.

Document Request No. 92: Laboratory notebooks of Mr. Koyama at the time of conception of the ‘105
patent.

Please immediately produce these documents. If you believe you have produced all relevant documents
for any or all of the categories listed above, please tell us where in Oki’s production the responsive
documents are located.

Oki’s Japanese Language Documents

It is not possible to run Japanese search terms in Oki’s production, because the Japanese text is not
sufficiently clear to be recognized by any search engine. Please produce the Japanese versions of Oki’s
documents in native file format so we can run searches through the production. Please also confirm that
Oki will produce emails from the selected email custodians in native file format.

Oki’s Interrogatory Responses

Oki has not served any supplemental responses to Ricoh’s First Set of Interrogatories. Please
supplement your responses to address the deficiencies in at least the following interrogatories:

Interrogatory No. 1: Oki has identified only two products in response to Ricoh’s interrogatory seeking
identification of each Oki accused product. It is clear to us that there are other products that should be
listed, so we ask that you supplement this response with a complete list of accused products.

Interrogatory Nos. 7, 8, 9, 10, 11, 15: In response to these interrogatories, Oki Data responded that it
would identify documents that purportedly support its contentions. Please do so, and confirm that all
documents responsive to these interrogatories have been produced.
Jeff Castellano
February 16, 2011
Page Three



We look forward to your prompt response.

Best regards,
DLA Piper LLP (US)

/s/ Erin P. Gibson

Erin P. Gibson
Associate

Admitted to practice in California

cc:     All Counsel of Record

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EXHIBIT H
EXHIBIT I
                             Y OUNG C ONAWAY S TARGATT & T AYLOR , LLP
SHELDON N. SANDLER          PAULINE K. MORGAN              THE BRANDYWINE BUILDING      IAN J. BAMBRICK               KAREN E. KELLER
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RICHARD A. ZAPPA            NATALIE WOLF                 1000 WEST STREET, 17TH FLOOR   DONALD J. BOWMAN, JR.         SARA BETH A. R. KOHUT
DAVID C. MCBRIDE            LISA B. GOODMAN              WILMINGTON, DELAWARE 19801     ELISABETH S. BRADLEY          EVANGELOS KOSTOULAS
JOSEPH M. NICHOLSON         JOHN W. SHAW                                                MICHELE SHERRETTA BUDICAK     PILAR G. KRAMAN
CRAIG A. KARSNITZ           JAMES P. HUGHES, JR.                                        EMILY V. BURTON               JOHN C. KUFFEL
BARRY M. WILLOUGHBY         EDWIN J. HARRON                   (302) 571-6600            ERIKA R. CAESAR               PAUL J. LOUGHMAN
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JEROME K. GROSSMAN          ROLIN P. BISSELL                                            DOUGLAS T. COATS              JAIME N. LUTON
EUGENE A. DIPRINZIO         SCOTT A. HOLT                     ———————                   KARA HAMMOND COYLE            ANDREW L. MAGAZINER
JAMES L. PATTON, JR.        JOHN T. DORSEY                WWW.YOUNGCONAWAY.COM          KRISTEN SALVATORE DEPALMA     KATHALEEN MCCORMICK
ROBERT L. THOMAS            M. BLAKE CLEARY                                             MARGARET M. DIBIANCA          TAMMY L. MERCER
WILLIAM D. JOHNSTON         CHRISTIAN DOUGLAS WRIGHT                                    JUSTIN P. DUDA                LAUREN E. MOAK
TIMOTHY J. SNYDER           DANIELLE GIBBS                DIRECT DIAL: (302) 571-6689   MARY F. DUGAN                 MICHAEL S. NEIBURG
BRUCE L. SILVERSTEIN        JOHN J. PASCHETTO                                           ERIN EDWARDS                  JENNIFER R. NOEL
WILLIAM W. BOWSER           NORMAN M. POWELL              DIRECT FAX: (302) 576-3334    KENNETH J. ENOS               ROBERT F. POPPITI, JR.
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CASSANDRA F. ROBERTS        JOHN E. TRACEY                                              WILLIAM E. GAMGORT            ANDREW E. RUSSELL
RICHARD J.A. POPPER         ADAM W. POFF                                                MARGARET WHITEMAN GREECHER    CHERYL A. SANTANIELLO
NEILLI MULLEN WALSH         SEAN M. BEACH                                               SEAN T. GREECHER              MORGAN L. SEWARD
ROBERT S. BRADY             JOSEPH M. BARRY                                             A. DAVID HANSEN               MONTÉ T. SQUIRE
JOEL A. WAITE               SHARON M. ZIEG                                              STEPHANIE L. HANSEN           MICHAEL P. STAFFORD
BRENT C. SHAFFER            DAVID R. HURST                                              JAMES L. HIGGINS              RICHARD J. THOMAS
DANIEL P. JOHNSON           TIMOTHY E. LENGKEEK                                         PATRICK A. JACKSON            JAMES M. YOCH, JR.
CRAIG D. GREAR              MATTHEW B. LUNN
TIMOTHY JAY HOUSEAL         DANIEL F.X. GEOGHAN                                              COUNSEL                    OF COUNSEL
MARTIN S. LESSNER               (NY, NJ, MI ONLY)                                       CURTIS J. CROWTHER            BRUCE M. STARGATT
                                                                                        ADRIA B. MARTINELLI
                                                                                        KAREN L. PASCALE

                                                             March 10, 2011
           BY E-MAIL

           Erin Gibson, Esquire
           DLA Piper LLP
           401 B Street, Suite 1700
           San Diego, CA 92101-4297

                               Re:         Ricoh Co., Ltd. v. Oki Data Corp., C.A. No. 09-694-SLR

           Dear Erin:

                  We were shocked and surprised to receive today the documents Ricoh labeled
           “supplemental” interrogatory responses.

                   Far from being “supplemental” responses, what we received were brand-new contentions
           that should have been served long ago – certainly no later than last December under the
           Scheduling Order – and lists of newly “accused products” without claim charts. No events have
           happened to justify such completely new responses at this late stage of the case. For example,
           these responses purport to accuse dozens of new products of infringement and provide claim
           charts for these products for the first time. For other newly “accused” products, there are no
           claim charts at all. There is no basis to have waited until just three weeks before the close of fact
           discovery to make these assertions for the first time.

                    This conduct is sand-bagging, pure and simple. In responding to interrogatories, a party
           must provide all information currently in its possession, custody or control, and can supplement
           only with newly discovered information as set forth in Rule 26(e). Amberwave Sys. Corp. v.
           Intel Corp., C.A. No. 05-301-KAJ, Tr. at 20:19-21 (D. Del. May 3, 2006) (regarding duty to
           respond to contention interrogatories, “if you have a basis that you can put forward now, you
           should put it forward now. If you know, you should say.”). If you had this information before, it
           is too late to provide it now for the first time. If you contend you did not have this information
           before, what information in these responses was uncovered after the December deadline that was
           not previously available? Further, with three weeks left in discovery, what is the basis to merely
           list a series of products and to provide no claim charts at all? Ricoh’s attempt to add information


           YCST01:10783633.1                                                                                  069002.1002
Y OUNG C ONAWAY S TARGATT & T AYLOR , LLP
Erin Gibson, Esquire
March 10, 2011
Page 2

is highly prejudicial, and we intend to ask Judge Thynge to strike this “supplemental”
information.

        We therefore request a meet and confer as early as tomorrow, Friday, March 11, 2011. In
that regard, we have asked repeatedly for meet and confer sessions over the past five weeks, and
the only time Ricoh did not ignore our requests was when Ricoh wanted to use the meet and
confer as a tool to bring its own a discovery dispute to Judge Thynge the next day. Ricoh cannot
insulate itself from its poor discovery conduct by refusing to meet and confer. This conduct is
unreasonable, and it puts the entire case schedule into jeopardy.

        I look forward to hearing your availability.

                                                       Cordially yours,

                                                       /s/ John W. Shaw

                                                       John W. Shaw

cc:     Marc R. Labgold, Ph.D., Esquire (by e-mail)
        David Moore, Esquire (by e-mail)




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